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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

    KHOLKAR VISHVESHWAR GANPAT,                                          CIVIL DOCKET
       Plaintiff

    VERSUS                                                               NO. 18-13556

    EASTERN PACIFIC SHIPPING, PTE. LTD.,                                 SECTION: “E” (4)
        Defendant

                                                ORDER

        Before the Court is Defendant’s First Motion for Leave to Amend and Supplement

its Answer.1 Plaintiff filed an opposition.2 Defendant filed a reply.3

        IT IS ORDERED that Defendant’s request for leave to amend its answer to assert

an affirmative defense of comparative fault is GRANTED. Plaintiff was sufficiently put

on notice by Defendant’s discovery responses during the course of the instant litigation of

Defendant’s comparative fault affirmative defense.

        IT IS FURTHER ORDERED that Defendant’s request for leave to amend its

answer to assert an affirmative defense of failure to mitigate and an affirmative defense

of accord and satisfaction is DENIED. Defendant has not carried its burden of

establishing the amendment would not constitute “unfair surprise” to Plaintiff.4

        IT IS FURTHER ORDERED that Defendant e-mail its amended answer, in light

of the above, to eFile-Morgan@laed.uscourts.gov by no later than September 16, 2022.

The Court will then docket the amended answer on the record.

        New Orleans, Louisiana, this 13th day of September, 2022.

                                                  ________________________________
                                                           SUSIE MORGAN
                                                    UNITED STATES DISTRICT JUDGE


1 R. Doc. 319.
2 R. Doc. 323.
3 R. Doc. 335.
4 Phyfer v. San Gabriel Dev. Corp., 884 F.2d 235, 241 (5th Cir. 1989).
